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AFFIDAVIT IN SUPPORT OF COMPLAINT

I, Gerald Cavis, hereinafter referred to as your affiant, a Special Agent of the Federal

Bureau of Investigation (FBI), being duly sworn, state and depose as follows:

BACKGROUND

1. Gerald Cavis (Affiant) has been a Special Agent with the Federal Bureau of Investigation
(FBI) since 2016 and is currently assigned to the Counterterrorism Squad of the San Juan
Division. As a Special Agent with the FBI, the affiant has participated in a wide range of
both complex criminal and national security investigations as the primary investigator or in
a subsidiary role in both the United States and internationally. The affiant is familiar with
the procedures, activities, and investigative techniques associated with conducting federal
investigations. Prior to working for the FBI the affiant served for nine years as a Detective
with the Orange County Sheriff's Office in Orlando, Florida in such assignments as
Narcotics, Violent Crime and the FBI Joint Terrorism Task Force. The affiant is "an
investigative or law enforcement officer of the United States" within the meaning of Section
2510 (7) of Title 18, United States Code. Your affiant is therefore, an officer of the United
States who is empowered by law to conduct investigations of, and to make arrests for, the
offenses enumerated in Title 18, United States Code.

2. The information contained in this affidavit was obtained from the investigation conducted
by your affiant in addition to information provided to your affiant by other local and federal
law enforcement agents. Because this affidavit is made for the limited purpose of
establishing probable cause for the arrest warrant, your affiant has not recited each and

every fact known to him as a result of this investigation.

RELEVANT FACTUAL ALLEGATIONS

3. Adam Paul Strege (Strege) is documented as making hundreds of threatening and harassing
telephone calls to state, local and federal entities with a focus on the Social Security
Administration (SSA). During these calls Strege commonly rants about his families
involvement in the 9/11 attacks on the World Trade Center, makes demands in reference to

his social security benefits, makes various statements about the use of human body parts in

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nuclear reactors, and discusses kidnap and murder plots and various lawsuits against the
United States.

. On May 6, 2019 the SSA office in Grand Rapids, Michigan received a bomb threat via a |
telephone call. An SSA employee stated that a person whom the employee was able to
identify as Adam Strege called the office and stated "bomb the place, there is a bomb under
the building and it was placed there by the builders.” The SSA employee asked which
building Strege was referring to, and Strege replied that it was “the building, your building”
and instructed her to check the basements and tunnel. Strege also stated he had “put his
semen on a rocket ship and launched into space” and his mother was involved with the 9/11
terrorist attacks and the “mother of all bombs is in Macalister, Oklahoma".

. Strege’s threats prompted a response from the Federal Protective Service and the Grand
Rapids Police Department who conducted a check for explosive devices utilizing Explosive
Detection Canine Units at multiple facilities.

. On May 15, 2019 FBI special agents met with Strege in Carolina, Puerto Rico. Strege was
read his Miranda Rights directly from an FBI-issued Miranda Card. Strege stated he fully
understood his Miranda Rights and agreed to speak with the agents at that time without the
presence of an attorney.

. Strege was asked what his current telephone number was and he initially stated he did not
know it. When Special Agent Cavis told Strege that he did not believe him and that he did
know his telephone number, Strege replied his current number was “(787)-317-3120.”
Strege stated the number was that of his cellular telephone. Strege stated that it was his only
telephone, that he was the only user of the telephone and has never let anyone else use it.
Strege stated he got the telephone when he arrived in Puerto Rico on approximately
February 28, 2019 and it has been in his control the entire time.

. Strege was asked if he remembered making a telephone call to a government agency where
he told them there was a bomb in their building. Strege stated he did make the phone call
and he builds courthouses and government buildings with explosive experts. Strege was
asked if he actually put a bomb in the basement of a building and he stated he did not.
Strege was asked if he knew it scared people and caused fear when he told people there

could be a bomb in their building and he replied it definitely should.
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9, When Strege was asked why he made the threats he stated they took his driver’s license and
he just wanted a driver’s license back in the United States.
10. Strege acknowledged that he made the phone call to the Grand Rapids, Michigan SSA office

from Puerto Rico.

CONCLUSION

11. Based on the information above, your affiant submits that there is probable cause to charge

Adam Strege with a violation of Title 18, United States Code, Section 844(e).

I hereby declare, under penalty of perjury, that the foregoing is true and correct to the best of my

knowledge.

SpegiaA gent Gerald Cavis———

Federal Bureau of Investigation

Subscribed and sworn before PL 15th day of May, 2019.

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nited States Magistrate Judge

